Case 18-53694-sms        Doc 24    Filed 06/29/18 Entered 06/29/18 11:14:40              Desc Main
                                   Document     Page 1 of 3




  IT IS ORDERED as set forth below:



  Date: June 29, 2018
                                                       _________________________________

                                                                  Sage M. Sigler
                                                           U.S. Bankruptcy Court Judge

 ________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                            :                 CASE NO 18-53694-SMS
                                  :
ROKEAH GINA PRATT                 :                 CHAPTER 13
     Debtor.                      :
-------------------------------- --                 --------------------------------
QUICKEN LOANS INC.,               :
     Movant.                      :
                                  :                 CONTESTED MATTER
vs.                               :
                                  :
ROKEAH GINA PRATT                 :
MARY IDA TOWNSON, Trustee         :
     Respondents.                 :
                                                :

                         ORDER MODIFYING AUTOMATIC STAY

         Quicken Loans Inc., for itself, its successors and assigns (the “Movant”), filed a Motion

for Relief from Automatic Stay (the “Motion”) May 31, 2018, which was set for hearing June

19, 2018 (the “Hearing”). Movant seeks relief as to Debtor`s real property located in Henry
Case 18-53694-sms        Doc 24    Filed 06/29/18 Entered 06/29/18 11:14:40          Desc Main
                                   Document     Page 2 of 3


County, Georgia, now or formerly known as 1045 MARIS LN, MCDONOUGH, GA 30253 (the

“Property”), as more particularly described on Exhibit "B" attached to the Motion.

       Movant asserts that the Motion was properly served and hearing properly noticed.

Neither Debtor nor the Trustee oppose the relief sought; accordingly, it is hereby

       ORDERED that the Motion is granted: the automatic stay of 11 U.S.C. § 362 is

MODIFIED to allow Movant to foreclose the Property, and take possession thereof in pursuit of

its state law remedies; provided, however, any proceeds remaining after foreclosure of the

Property which exceed the lawful claim of Movant shall be promptly remitted to the Chapter 13

Trustee. Trustee shall cease disbursements to Movant on its Proof of Claim. The 14 day stay

provided in Bankruptcy Rule 4001(a)(3) shall not apply to this Order and Movant may proceed

without further delay.

                                   [END OF DOCUMENT]

Prepared and Submitted by:

/s/ Lisa F. Caplan
Lisa F. Caplan
GA State Bar No. 001304
Rubin Lublin, LLC
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
(877) 813-0992
lcaplan@rubinlublin.com
Attorney for Creditor

No Opposition to by:

/s/ K. Edward Safir______
K. Edward Safir
GA State Bar No. 622149
191 Peachtree Street, NE
Suite 2200
Atlanta, GA 30303
(404) 525-1110
orders@atlch13tt.com
Attorney for Chapter 13 Trustee
Case 18-53694-sms       Doc 24   Filed 06/29/18 Entered 06/29/18 11:14:40   Desc Main
                                 Document     Page 3 of 3


                                     DISTRIBUTION LIST


Rokeah Gina Pratt
1045 Maris Lane
McDonough, GA 30253

Howard P. Slomka, Esq.
Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339

Mary Ida Townson, Trustee
Chapter 13 Trustee
191 Peachtree Street, NE
Suite 2200
Atlanta, GA 30303

Lisa F. Caplan, Esq.
Rubin Lublin, LLC
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
